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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


  In re:                                                  Chapter 11

  FRANCHISE GROUP, INC., et al.,1                         Case No. 24-12480 (JTD)

                              Debtors.                    (Jointly Administered)


                           SUPPLEMENTAL AFFIDAVIT OF SERVICE

       I, Paul Pullo, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On January 2, 2025, at my direction and under my supervision, employees of Kroll
caused the following documents to be served via First Class Mail on the Supplemental Customer
Parties Service List attached hereto as Exhibit A:

       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
        Maintain and Administer Their Existing Customer Programs and Honor Certain
        Prepetition Obligations Related Thereto, (II) Authorizing the Banks to Honor and Process
        Check and Electronic Transfer Requests Related Thereto, and (III) Granting Related
        Relief [Docket No. 4] (the “Customer Program Motion”)



1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom
VCM Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
(6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
(5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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      Interim Order (I) Authorizing the Debtors to Maintain and Administer Their Existing
       Customer Programs and Honor Certain Prepetition Obligations Related thereto, (II)
       Authorizing the Banks to Honor and Process Check and Electronic Transfer Requests
       Related thereto, and (III) Granting Related Relief [Docket No. 125] (the “Interim
       Customer Program Order”)

      Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No. 137] (the
       “First Day Hearing Notice”)

       On January 2, 2025, at my direction and under my supervision, employees of Kroll
caused the First Day Hearing Notice and the following documents to be served via First Class
Mail on Kootenai Electric Cooperative (ADRID: 29487121), 9014 W Lancaster Rd, Rathdrum,
ID 83858-7415:

      Debtors’ Motion for Interim and Final Orders (I) Prohibiting Utility Companies from
       Altering, Refusing, or Discontinuing Utility Services, (II) Deeming Utility Companies
       Adequately Assured of Future Payment, (III) Establishing Procedures for Resolving
       Objections by Utility Companies and Determining Additional Adequate Assurance of
       Payment, and (IV) Granting Related Relief [Docket No. 7]

      Interim Order (I) Prohibiting Utility Companies from Altering, Refusing, or
       Discontinuing Utility Services, (II) Deeming Utility Companies Adequately Assured of
       Future Payment, (III) Establishing Procedures for Resolving Objections by Utility
       Companies and Determining Additional Adequate Assurance of Payment, and (IV)
       Granting Related Relief [Docket No. 128]

        On January 2, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served via First Class Mail on the Supplemental Mailing List
attached hereto as Exhibit B:

      Notice of Hearing to Consider Approval of Disclosure Statement [Docket No. 153] (the
       “Disclosure Statement Hearing”)

        On January 3, 2025, at my direction and under my supervision, employees of Kroll caused
the Disclosure Statement Hearing to be served via First Class Mail on the Supplemental Service
List attached hereto as Exhibit C.

        On January 6, 2025, at my direction and under my supervision, employees of Kroll
caused the Customer Program Motion, Interim Customer Program Order and First Day Hearing
Notice to be served via First Class Mail on the Supplemental Customer Service List attached
hereto as Exhibit D.

       On January 7, 2025, at my direction and under my supervision, employees of Kroll
caused the Disclosure Statement Hearing to be served via First Class Mail on the Supplemental
Mailing Service List attached hereto as Exhibit E.


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Dated: January 31, 2025
                                                                   /s/ Paul Pullo
                                                                   Paul Pullo
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 31, 2025, by Paul Pullo, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                              3        SRF 84784, 84786, 84971, 85009 & 85043
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                       Exhibit A
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                                                                        Exhibit A
                                                        Supplemental Customer Parties Service List
                                                               Served via First Class Mail
                                         ADRID                     NAME                            ADDRESS
                                       29493953   Basista, Kenneth                        Address on File
                                       29493298   Blanie, Cheryl                          Address on File
                                       29495000   Brooks, Kearia                          Address on File
                                       29483872   Buxton, Every                           Address on File
                                       29489474   Dunn, Nicole                            Address on File
                                       29480482   Flowers, Latonia                        Address on File
                                       29489238   Godbey, Christopher                     Address on File
                                       29488413   Graham, Lauren                          Address on File
                                       29480305   Hall, Landria                           Address on File
                                       29493086   Hartman, Katelynn                       Address on File
                                       29481311   Ingram, Natasha                         Address on File
                                       29488081   Ioanis, Jesse                           Address on File
                                       29486329   James, Donna                            Address on File
                                       29484652   Johnson, Bryanna                        Address on File
                                       29489320   Kunene, Thulani                         Address on File
                                       29481211   Lowery, Tomnica                         Address on File
                                       29480445   Marion, Sheri                           Address on File
                                       29492459   Ohenry, Samantha                        Address on File
                                       29482698   Onwuagba, Sharon                        Address on File
                                       29491121   Owsley, Danetta                         Address on File
                                       29484109   Phinisee, Yulonda                       Address on File
                                       29480941   Russell, Lashanda                       Address on File
                                       29480903   Sealy, Tamika                           Address on File
                                       29482579   Shaw, Tiana                             Address on File
                                       29489693   Singh, Rashida                          Address on File
                                       29481292   Stallworth, Shawna                      Address on File
                                       29489156   Steele, Tierra                          Address on File


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                                                                         Exhibit A
                                                        Supplemental Customer Parties Service List
                                                               Served via First Class Mail
                                         ADRID                        NAME                          ADDRESS
                                       29480609   Swanigan, Brandi                         Address on File
                                       29489589   Westfall, Donna                          Address on File
                                       29489246   White, Daniel                            Address on File
                                       29483217   White, Yolanda                           Address on File
                                       29494691   Whited, Stephanie                        Address on File




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                                                                               Exhibit B
                                                                        Supplemental Mailing List
                                                                        Served via First Class Mail


    ADRID                                        NAME                                 ADDRESS 1            ADDRESS 2   ADDRESS 3          CITY     STATE POSTAL CODE
29606579        4 R SYSTEMS                                                  P O BOX 888                                           SOUTHEASTERN   PA    19399‐0888
29602789        A One Concrete / Brandon Goodwin                             PO Box 415                                            Concord        AR    72523‐0415
29640834        A., Finley Wesley                                            ADDRESS ON FILE
29642523        A., Finney Wesley                                            ADDRESS ON FILE
29641804        A., Garcia Rafael                                            ADDRESS ON FILE
29640244        A., Higgins Cassandra                                        ADDRESS ON FILE
29639156        A., Lambert Robert                                           ADDRESS ON FILE
29638847        A., Renaldi Nicholas                                         ADDRESS ON FILE
29638747        A., Roberson Dishron                                         ADDRESS ON FILE
29641208        A., Simms William                                            ADDRESS ON FILE
29638922        A., Stewart Bryan                                            ADDRESS ON FILE
29616227        A., Topp Dedrah                                              ADDRESS ON FILE
29614205        A., Webb Amanda                                              ADDRESS ON FILE
29613576        A., Wendt Brian                                              ADDRESS ON FILE
29626234        ABDULRAHMAAN, YASEEN                                         ADDRESS ON FILE
29645208        Abney, Marci L                                               ADDRESS ON FILE
29482575        Adams, Elina                                                 ADDRESS ON FILE
29646430        Adkins, Matthew S                                            ADDRESS ON FILE
29648623        Aguirre Zazueta, Elissa                                      ADDRESS ON FILE
29621957        Aguirre, Alejandro D                                         ADDRESS ON FILE
29616553        Akasha, Johnson                                              ADDRESS ON FILE
29614231        Alexandria, Johnson                                          ADDRESS ON FILE
29633267        Allen, Chi Duane                                             ADDRESS ON FILE
29484030        Allen, Stephanie                                             ADDRESS ON FILE
29602079        ALPHA MEDIA (WMJM FM WDJX‐FM WGHL‐FM WGZB‐FM WXMA‐FM)        9300 SHELBYVILLE RD         STE 600                   LOUISVILLE     KY    40222‐5155
29648625        Alvarenga, Lucy T                                            ADDRESS ON FILE
29648626        Alvarenga, Ruth M                                            ADDRESS ON FILE
29622413        Anderson, Dylan Z                                            ADDRESS ON FILE
29646734        Anderson, Gregory B                                          ADDRESS ON FILE
29639152        Andrea, Green                                                ADDRESS ON FILE
29616004        Andrew, Marrow                                               ADDRESS ON FILE
29616828        Anthony, Bell                                                ADDRESS ON FILE
29492629        Archer, Clerance                                             ADDRESS ON FILE
29642328        Ardis, Patterson                                             ADDRESS ON FILE
29639269        ARIEL, CALVO                                                 ADDRESS ON FILE
29609824        Armstrong Egan, Dean                                         ADDRESS ON FILE


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    ADRID                                       NAME                                ADDRESS 1         ADDRESS 2   ADDRESS 3           CITY   STATE    POSTAL CODE
29622147        Armstrong, Hunter J                                       ADDRESS ON FILE
29646818        Arnold, Christopher C                                     ADDRESS ON FILE
29619366        Asiedu, Tameka                                            ADDRESS ON FILE
29647270        Askins, Heather L                                         ADDRESS ON FILE
29616442        B., Cunningham Jarrod                                     ADDRESS ON FILE
29639009        B., Edgell Douglas                                        ADDRESS ON FILE
29648084        Badmaev, Matthew                                          ADDRESS ON FILE
29480383        Bailey, Dominique                                         ADDRESS ON FILE
29634854        Bailey, Luchiano Rakeem                                   ADDRESS ON FILE
29628394        Baker, Caleb                                              ADDRESS ON FILE
29609663        Ballot, Justin Paul                                       ADDRESS ON FILE
29612700        Ballou, Aaliyah Marie                                     ADDRESS ON FILE
29489161        Barnes, Tamika                                            ADDRESS ON FILE
29633430        Barnett, Kyla                                             ADDRESS ON FILE
29609533        Barnett, Peter Lee                                        ADDRESS ON FILE
29610225        Barnyak, Jean M                                           ADDRESS ON FILE
29621478        Barrett, Andrew J                                         ADDRESS ON FILE
29646416        Barrios, Jason                                            ADDRESS ON FILE
29621505        Barth, Venus O                                            ADDRESS ON FILE
29493953        Basista, Kenneth                                          ADDRESS ON FILE
29605271        Beard, Cody                                               ADDRESS ON FILE
29625898        Beasley Media Group, LLC (WHHD‐FM)                        P.O. Box 286061                                     Tampa          FL      33630‐6061
29610897        Begell, Dylan S                                           ADDRESS ON FILE
29646455        Bellew, Colton C                                          ADDRESS ON FILE
29621418        Beltran, Amber E                                          ADDRESS ON FILE
29639460        Benny, Long                                               ADDRESS ON FILE
29646362        Bernier, Jennifer L                                       ADDRESS ON FILE
29633940        Betancourt, Autumn                                        ADDRESS ON FILE
29634589        Beverage, Beth Ann                                        ADDRESS ON FILE
29646366        Bilodeau, Stephanie L                                     ADDRESS ON FILE
29633955        Blackman, Mitchell                                        ADDRESS ON FILE
29639379        Blaine, Groves                                            ADDRESS ON FILE
29604858        Blake, Angela                                             ADDRESS ON FILE
29646006        Blanding, Travis N                                        ADDRESS ON FILE
29634692        Boedicker, Sydney E                                       ADDRESS ON FILE
29633562        Bolte, Megan                                              ADDRESS ON FILE


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    ADRID                                           NAME                                 ADDRESS 1           ADDRESS 2   ADDRESS 3         CITY   STATE    POSTAL CODE
29634168        Bond, Craig                                                     ADDRESS ON FILE
29621078        Born, Jeffrey A                                                 ADDRESS ON FILE
29634848        Boss, Aiden M                                                   ADDRESS ON FILE
29620588        Bowers, Jennifer M                                              ADDRESS ON FILE
29610549        Boyd, Owen Alistair                                             ADDRESS ON FILE
29621972        Bozza, Joseph R                                                 ADDRESS ON FILE
29643063        Braden, McCormack                                               ADDRESS ON FILE
29640024        Brandon, Chavez                                                 ADDRESS ON FILE
29614635        Brandon, Corley                                                 ADDRESS ON FILE
29647209        Brendel, Mark A                                                 ADDRESS ON FILE
29603041        Brines Refrigeration Heating and Cooling Inc                    23800 NORTHWESTERN HWY     STE 140                   SOUTHFIELD   MI      48075‐7789
29628371        BROADLEAF COMMERCE LLC                                          5700 TENNYSON PKWY         STE 300                   PLANO        TX      75024‐3595
29495000        Brooks, Kearia                                                  ADDRESS ON FILE
29646930        Brown, Alaina N                                                 ADDRESS ON FILE
29488438        Brown, Arthelia                                                 ADDRESS ON FILE
29489914        Brown, Cara                                                     ADDRESS ON FILE
29620456        Brown, Elaina E                                                 ADDRESS ON FILE
29635069        Bruner, Terrah Lynn                                             ADDRESS ON FILE
29634938        Bryan, Angelia                                                  ADDRESS ON FILE
29488888        Bryant, Cindy                                                   ADDRESS ON FILE
29634045        Bryant, Joe                                                     ADDRESS ON FILE
29622309        Budhan, Caroline                                                ADDRESS ON FILE
29629764        BUSSARD, SASHA                                                  ADDRESS ON FILE
29489265        Butler, Kara                                                    ADDRESS ON FILE
29639829        C., Boatwright Antwon                                           ADDRESS ON FILE
29642014        C., Terry Gregg                                                 ADDRESS ON FILE
29616142        C., Williams Markeseun                                          ADDRESS ON FILE
29634833        Cabell, Ahnesha                                                 ADDRESS ON FILE
29615077        Cameron, Reed                                                   ADDRESS ON FILE
29605000        CANNON GROUP ENTERPRISES, INC.                                  960B HARVEST DR            STE 250                   BLUE BELL    PA      19422‐1997
29480122        Capers, Ricky                                                   ADDRESS ON FILE
29610294        Carnoali, Alayna                                                ADDRESS ON FILE
29645998        Carr, Ebony R                                                   ADDRESS ON FILE
29637308        CARRION, JOSEPH LOUIS                                           ADDRESS ON FILE
29635099        Castellino, Maryrose (Matt) A                                   ADDRESS ON FILE
29622840        Castillo, Noreidy                                               ADDRESS ON FILE


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                                                                  Supplemental Mailing List
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    ADRID                                    NAME                              ADDRESS 1            ADDRESS 2      ADDRESS 3         CITY      STATE    POSTAL CODE
29621103        Catchings, Jeron Q                                     ADDRESS ON FILE
29646903        Chadwell, Brandon L                                    ADDRESS ON FILE
29493777        Chester, Jennifer                                      ADDRESS ON FILE
29633276        Cheuvront, Jarrod                                      ADDRESS ON FILE
29646683        Chinaiwala, Uday M                                     ADDRESS ON FILE
29481400        Chinnam, Ravichand                                     ADDRESS ON FILE
29620152        Chirico, Jessica R                                     ADDRESS ON FILE
29616902        Christopher, Harvey                                    ADDRESS ON FILE
29621509        Clay, Erika J                                          ADDRESS ON FILE
29617422        Clifford, Allen Jr.                                    ADDRESS ON FILE
29628697        CLIPPER MAGAZINE LLC                                   ONE BRAND MARKETING        1 VALPAK AVE N               ST PETERSBURG   FL      33716‐4102
29637002        Codick, Patrick Bryan                                  ADDRESS ON FILE
29488977        Cole, David                                            ADDRESS ON FILE
29628732        CONFLUENT DEVELOPMENT LLC                              2215 MARKET ST                                          DENVER          CO      80205‐2026
29640831        Conroy, Cadore iv                                      ADDRESS ON FILE
29493356        Conway, Serenia                                        ADDRESS ON FILE
29605348        Cook, Curtis                                           ADDRESS ON FILE
29611114        Cooper, Morgan                                         ADDRESS ON FILE
29481802        Cooper, Pershayla                                      ADDRESS ON FILE
29611245        Coralic, Denisa                                        ADDRESS ON FILE
29611438        Correia, Michaela Mae                                  ADDRESS ON FILE
29622342        Cortez, Angel                                          ADDRESS ON FILE
29626909        CORUJO, JORGE                                          ADDRESS ON FILE
29611439        Cotter, Courtney Anne                                  ADDRESS ON FILE
29489493        Coulter, Christine                                     ADDRESS ON FILE
29614977        Courtney, Hawkins                                      ADDRESS ON FILE
29609779        Courtright, Tyler Dylan                                ADDRESS ON FILE
29615992        CRAIG, MCCAULEY II                                     ADDRESS ON FILE
29646063        Cramer, Cheryl T                                       ADDRESS ON FILE
29609129        Crigger, Hanna                                         ADDRESS ON FILE
29650339        Cruz, Beverly G                                        ADDRESS ON FILE
29488600        Curtis, Lakisha                                        ADDRESS ON FILE
29640838        D., Baldwin Jeffrey                                    ADDRESS ON FILE
29614312        D., Black Shawn                                        ADDRESS ON FILE
29633736        Dale, Yolanda May                                      ADDRESS ON FILE
29609312        Dalrymple, Jessica                                     ADDRESS ON FILE


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                                                                         Exhibit B
                                                                  Supplemental Mailing List
                                                                  Served via First Class Mail


    ADRID                                    NAME                                ADDRESS 1            ADDRESS 2   ADDRESS 3         CITY    STATE    POSTAL CODE
29624450        Dalton, Alex                                           ADDRESS ON FILE
29641286        Daniel, Lee                                            ADDRESS ON FILE
29489835        Daniels, Aaron                                         ADDRESS ON FILE
29639851        Darius, Belmer                                         ADDRESS ON FILE
29626990        DAVIS, LCSW, MARK D.                                   ADDRESS ON FILE
29634293        Davis, Summer Elizabeth                                ADDRESS ON FILE
29634865        Dawson, Lane                                           ADDRESS ON FILE
29646266        De Leon, Jocelyn                                       ADDRESS ON FILE
29622899        Debonta, Dana                                          ADDRESS ON FILE
29609491        Delacruz, Isaias Victor                                ADDRESS ON FILE
29604242        Delaware R5 Capital                                    19007 65th Ave E                                       Bradenton    FL       34211‐7051
29641806        Delawrence, Myers Jr.                                  ADDRESS ON FILE
29641763        Demesha, Taylor                                        ADDRESS ON FILE
29635388        Dennis, Sydney Isabel                                  ADDRESS ON FILE
29645818        Desa, Aaron M                                          ADDRESS ON FILE
29634191        Dibble, Quincey Paige                                  ADDRESS ON FILE
29481536        Dioubate, Mohamed                                      ADDRESS ON FILE
29647786        Dixon, Brittany M                                      ADDRESS ON FILE
29633638        Dockery, Cora                                          ADDRESS ON FILE
29647868        Dodge, Jonathan E                                      ADDRESS ON FILE
29618300        Domka, Joseph T                                        ADDRESS ON FILE
29647273        Donoho, Daniel M                                       ADDRESS ON FILE
29648000        Dreyer, Maxwell J                                      ADDRESS ON FILE
29484829        Duff, Jordan                                           ADDRESS ON FILE
29632901        Duncan, Mary Gerrety                                   ADDRESS ON FILE
29615346        E., Brangers Joshua                                    ADDRESS ON FILE
29616499        E., Lewis Ryan                                         ADDRESS ON FILE
29643332        E., Maki Anna                                          ADDRESS ON FILE
29640432        E., Mitchell James                                     ADDRESS ON FILE
29638054        E., Nordman Jonathan                                   ADDRESS ON FILE
29640977        E., Walker Richard                                     ADDRESS ON FILE
29644885        Egger, Damion B                                        ADDRESS ON FILE
29647321        Egloso, Clarenze B                                     ADDRESS ON FILE
29629168        Elienne, Jean‐Marc                                     ADDRESS ON FILE
29605462        Emily Young Fitness                                    2504 Fields South DR Apt 303                           Champaign    IL       61822
29614714        Eric, Hall                                             ADDRESS ON FILE


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                                                                         Exhibit B
                                                                  Supplemental Mailing List
                                                                  Served via First Class Mail


    ADRID                                    NAME                                ADDRESS 1          ADDRESS 2         ADDRESS 3           CITY   STATE    POSTAL CODE
29486137        Ervin, Denise                                          ADDRESS ON FILE
29629166        ETIENNE, JEAN MARC                                     ADDRESS ON FILE
29646267        Evans, Aurora R                                        ADDRESS ON FILE
29636197        Evans, Micah                                           ADDRESS ON FILE
29626742        EXPRESS IMPORT                                         3818 S 79TH EAST AVE                                       TULSA          OK      74145‐3219
29481556        Fallins, Elysha                                        ADDRESS ON FILE
29634358        Fashauer, Jayde Ann                                    ADDRESS ON FILE
29620232        Fasold, Hunter T                                       ADDRESS ON FILE
29620270        Favela, Jose M                                         ADDRESS ON FILE
29634758        Fear, Kylie                                            ADDRESS ON FILE
29620173        Feriano, Clementine M                                  ADDRESS ON FILE
29647228        Ferrie, Triona O                                       ADDRESS ON FILE
29608101        Fischer, John                                          ADDRESS ON FILE
29606069        Flanigan, Paul                                         ADDRESS ON FILE
29488388        Fleming, Kiara                                         ADDRESS ON FILE
29488400        Folden, Sasha                                          ADDRESS ON FILE
29606720        FranNet                                                PM8 645                    6844 Bardstown Rd               Louisville     KY      40291‐3050
29602912        FranNet LLC                                            PMB 645                    6844 Bardstown Rd               Louisville     KY      40291‐3050
29621421        Frias, Jade N                                          ADDRESS ON FILE
29636307        Friedman, Connor Jacob                                 ADDRESS ON FILE
29647364        Fuller, Kimberly A                                     ADDRESS ON FILE
29636009        Galbreath, Destiny Noel                                ADDRESS ON FILE
29604786        Gamble, Aaron Michael                                  ADDRESS ON FILE
29622258        Gamble, Jaden M                                        ADDRESS ON FILE
29621455        Garcia, Sarah E                                        ADDRESS ON FILE
29626001        GASTON, RODERICK                                       ADDRESS ON FILE
29609014        Gatkek, Mana                                           ADDRESS ON FILE
29609617        Gaudette, Jason John                                   ADDRESS ON FILE
29605922        Gaytan, Michael                                        ADDRESS ON FILE
29482550        Geraghty, Brendan                                      ADDRESS ON FILE
29647041        Ghee, David T                                          ADDRESS ON FILE
29482892        Gibson, Sanitra                                        ADDRESS ON FILE
29486147        Gilchrist, Jay                                         ADDRESS ON FILE
29605048        Gillette, Chloe                                        ADDRESS ON FILE
29612893        GLAUSIER, VIRGIL HENRY                                 ADDRESS ON FILE
29639504        Glenn, Moore                                           ADDRESS ON FILE


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                                                                              Exhibit B
                                                                       Supplemental Mailing List
                                                                       Served via First Class Mail


    ADRID                                         NAME                                ADDRESS 1           ADDRESS 2      ADDRESS 3         CITY   STATE    POSTAL CODE
29617086        Glenn, Williams Jr.                                         ADDRESS ON FILE
29627704        GLOBAL PRODUCT MANAGEMENT                                   Leticia Montiel            725 Los Angeles Ave           Monrovia     CA      91016‐4262
29637629        Gloria, Pena                                                ADDRESS ON FILE
29489238        Godbey, Christopher                                         ADDRESS ON FILE
29634522        Goforth, Ross David                                         ADDRESS ON FILE
29633548        Gonzalez, Alondra                                           ADDRESS ON FILE
29634426        Gonzalez, Jaylynn Nani                                      ADDRESS ON FILE
29643888        Gordon, Kenton P                                            ADDRESS ON FILE
29488488        Gordon, Tiana                                               ADDRESS ON FILE
29488413        Graham, Lauren                                              ADDRESS ON FILE
29482453        Grant, Latrice                                              ADDRESS ON FILE
29481529        Gratton, Cynthia                                            ADDRESS ON FILE
29493090        Graves, Mya                                                 ADDRESS ON FILE
29633594        Gray, Gerald G                                              ADDRESS ON FILE
29643764        Green, Hadiyah I                                            ADDRESS ON FILE
29492128        Green, Karen                                                ADDRESS ON FILE
29492982        Green, Mary                                                 ADDRESS ON FILE
29485448        Green, Remonica                                             ADDRESS ON FILE
29490616        Green, Shana                                                ADDRESS ON FILE
29612195        Greene, Chris                                               ADDRESS ON FILE
29620193        Greene, Jade M                                              ADDRESS ON FILE
29626821        GREENVILLE UTILITIES COMMISSION                             PO BOX 7287                                              GREENVILLE   NC      27835‐7287
29622047        Griffin, Blake R                                            ADDRESS ON FILE
29483199        Griffin, Leah                                               ADDRESS ON FILE
29489221        Griffin, Meyonica                                           ADDRESS ON FILE
29647863        Gross, Falen R                                              ADDRESS ON FILE
29633568        Gunn, Caleb Stephen                                         ADDRESS ON FILE
29622382        Guttmann, Jeoffrey                                          ADDRESS ON FILE
29605588        H & L WANG INC.                                             2902 HERITAGE HOUSE DR                                   WEBSTER      TX      77598‐3024
29645891        Habib, Iman                                                 ADDRESS ON FILE
29602552        HADLEY, COREY                                               ADDRESS ON FILE
29488191        Hagood, Oniecia                                             ADDRESS ON FILE
29622356        Hahn, Nick S                                                ADDRESS ON FILE
29489060        Hain, Dan                                                   ADDRESS ON FILE
29489461        Hairston, Riki                                              ADDRESS ON FILE
29480305        Hall, Landria                                               ADDRESS ON FILE


      In re: Franchise Group, Inc., et al.
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    ADRID                                           NAME                                ADDRESS 1           ADDRESS 2   ADDRESS 3            CITY   STATE    POSTAL CODE
29489369        Hamadeh, Ali                                                  ADDRESS ON FILE
29610392        Hankins, Jessica                                              ADDRESS ON FILE
29492567        Hardwick, Mozelle                                             ADDRESS ON FILE
29634099        Hardy, Courtney                                               ADDRESS ON FILE
29622120        Harley, Jacob L                                               ADDRESS ON FILE
29634736        Harold, Dominic D.                                            ADDRESS ON FILE
29621106        Harris, Anikin S                                              ADDRESS ON FILE
29481528        Harris, Aretha                                                ADDRESS ON FILE
29630146        Harrison‐Oliver, Xavier                                       ADDRESS ON FILE
29647133        Hawley, Lauren E                                              ADDRESS ON FILE
29488918        Hayes, Nekitress                                              ADDRESS ON FILE
29609808        Head, Danielle Emily                                          ADDRESS ON FILE
29616744        Heather, Gribbins                                             ADDRESS ON FILE
29620865        Heineman, Jared T                                             ADDRESS ON FILE
29606002        Henderson, Nicholas                                           ADDRESS ON FILE
29647211        Hensley, Lianne S                                             ADDRESS ON FILE
29640044        Herman, Austin III                                            ADDRESS ON FILE
29645008        Hernandez Lirio, Luis H                                       ADDRESS ON FILE
29646749        Herpel, Isaiah J                                              ADDRESS ON FILE
29609740        Hill, Juliann Bridget                                         ADDRESS ON FILE
29622592        Hilliard Fisher, Giauna                                       ADDRESS ON FILE
29647134        Hilsenbeck, Brian W                                           ADDRESS ON FILE
29489524        Hipp, William                                                 ADDRESS ON FILE
29610148        Hites, Athena Mae                                             ADDRESS ON FILE
29626850        HIYA, INC                                                     701 5th Ave Ste 1200                                  SEATTLE         WA      98104‐7007
29481718        Hodge, Johnna                                                 ADDRESS ON FILE
29480677        Hoekman, Alan                                                 ADDRESS ON FILE
29609474        Holmes, Amarah Annise                                         ADDRESS ON FILE
29629095        Holtsville Tribune                                            1122 W State St            Ste E                      El Centro       CA      92243‐2840
29626857        HOME ELEGANCE TX INC                                          6704 BRASADA DR                                       HOUSTON         TX      77085‐1532
29488041        Houston, Natasha                                              ADDRESS ON FILE
29620753        Howe, Emily D                                                 ADDRESS ON FILE
29634971        Howell, Audrie                                                ADDRESS ON FILE
29617234        Hunter, Bryans                                                ADDRESS ON FILE
29646412        Huss, Dyman A                                                 ADDRESS ON FILE
29605636        Information Systems Experts, Inc.                             11575 Freeport Dr                                     Carmel          IN      46032‐3448


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    ADRID                                    NAME                                ADDRESS 1          ADDRESS 2   ADDRESS 3         CITY   STATE    POSTAL CODE
29481311        Ingram, Natasha                                        ADDRESS ON FILE
29604319        International Trade Routes                             BRENDA BOICE               PO Box 188                Glenmont     NY      12077‐0188
29488081        Ioanis, Jesse                                          ADDRESS ON FILE
29645932        Irion, Brett P                                         ADDRESS ON FILE
29613601        Israel, Rodriguez Diego                                ADDRESS ON FILE
29650220        J&C Pet Supply‐PSPD                                    500 River Ave Ste 270                                Lakewood     NJ      08701‐4743
29640045        J., Alburg Christopher                                 ADDRESS ON FILE
29615499        J., Ali Matthew                                        ADDRESS ON FILE
29614459        J., Allen Tyler                                        ADDRESS ON FILE
29614536        J., Craig Steven                                       ADDRESS ON FILE
29615717        J., Freeman Travis                                     ADDRESS ON FILE
29633237        Jackson, Ian Nicholas                                  ADDRESS ON FILE
29480296        Jackson, Micola                                        ADDRESS ON FILE
29484123        Jacobs, Joan                                           ADDRESS ON FILE
29486329        James, Donna                                           ADDRESS ON FILE
29616027        JaQuavian, Kinkle                                      ADDRESS ON FILE
29613468        Jarmare, Durrell                                       ADDRESS ON FILE
29640848        Jarod, Coatney                                         ADDRESS ON FILE
29646326        Jaskiewicz, Cory M                                     ADDRESS ON FILE
29614820        Jason, Mormando                                        ADDRESS ON FILE
29489344        Jeffries, Christina                                    ADDRESS ON FILE
29614913        Jennifer, Snyder                                       ADDRESS ON FILE
29648086        Jennings, Alex M                                       ADDRESS ON FILE
29488197        Jernagin, Quintina                                     ADDRESS ON FILE
29492375        Jewell, Myla                                           ADDRESS ON FILE
29638185        Jhakeveah, Smith                                       ADDRESS ON FILE
29641921        Jocelyn, Lasak                                         ADDRESS ON FILE
29641322        John, Esparza                                          ADDRESS ON FILE
29613548        john, hinz                                             ADDRESS ON FILE
29616133        Johnny, Moore                                          ADDRESS ON FILE
29484652        Johnson, Bryanna                                       ADDRESS ON FILE
29494498        Johnson, Lajunna                                       ADDRESS ON FILE
29493614        Johnson, Mattie                                        ADDRESS ON FILE
29488073        Johnson, Teri                                          ADDRESS ON FILE
29489025        Jones, Andre                                           ADDRESS ON FILE
29480400        Jones, Iesha                                           ADDRESS ON FILE


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                                                                   Served via First Class Mail


    ADRID                                     NAME                               ADDRESS 1         ADDRESS 2   ADDRESS 3        CITY   STATE    POSTAL CODE
29610423        Jones, Nigel                                            ADDRESS ON FILE
29615861        Jordan, Sanita                                          ADDRESS ON FILE
29614680        Jorge, Flores                                           ADDRESS ON FILE
29642279        Joshua, Miller                                          ADDRESS ON FILE
29642000        Josue, Carrera Sr.                                      ADDRESS ON FILE
29647017        Joyner, Keri A                                          ADDRESS ON FILE
29615099        Justin, Kates                                           ADDRESS ON FILE
29617062        K., Smith Ricky                                         ADDRESS ON FILE
29645852        Kahle, Andrea J                                         ADDRESS ON FILE
29614524        Karianne, Marquez                                       ADDRESS ON FILE
29620788        Katikos, Apostolos P                                    ADDRESS ON FILE
29633336        Kato, Sarah Emi                                         ADDRESS ON FILE
29641379        Kearre, Alexander                                       ADDRESS ON FILE
29620385        Keddy, Dylan C                                          ADDRESS ON FILE
29616255        Keith, Landau                                           ADDRESS ON FILE
29609737        Kellaway, Alyssa M                                      ADDRESS ON FILE
29614878        Kelly, Rogers                                           ADDRESS ON FILE
29644298        Kelso, Sarah J                                          ADDRESS ON FILE
29612990        KENNEDY, DANIEL JOSEPH MATTHEW                          ADDRESS ON FILE
29642062        Keyon, Street                                           ADDRESS ON FILE
29482449        Killian, Wendi                                          ADDRESS ON FILE
29495231        Kimble, Tawana                                          ADDRESS ON FILE
29646954        Kirkpatrick, Adam S                                     ADDRESS ON FILE
29491733        Klenke, Ryan                                            ADDRESS ON FILE
29610297        Kohnen, Javaughn Steven                                 ADDRESS ON FILE
29491789        Kolawole, Kathryn                                       ADDRESS ON FILE
29487121        KOOTENAI ELECTRIC COOPERATIVE                           9014 W LANCASTER RD                                RATHDRUM    ID      83858‐7415
29609418        Kortas, Kellie                                          ADDRESS ON FILE
29620921        Kotter, Emily L                                         ADDRESS ON FILE
29621097        Kovacs, Donna J                                         ADDRESS ON FILE
29619719        Krizan, John‐David                                      ADDRESS ON FILE
29624302        Kulbacki, Kelly                                         ADDRESS ON FILE
29489320        Kunene, Thulani                                         ADDRESS ON FILE
29641954        Kyesha, Newell                                          ADDRESS ON FILE
29642485        L., Campbell Nathan                                     ADDRESS ON FILE
29616724        L., Jones Annetra                                       ADDRESS ON FILE


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    ADRID                                    NAME                                ADDRESS 1                 ADDRESS 2      ADDRESS 3         CITY      STATE    POSTAL CODE
29616917        L., Mcmullin Micheal                                   ADDRESS ON FILE
29637924        L., Simmons Marvin                                     ADDRESS ON FILE
29640993        L., Wentworth Alvin                                    ADDRESS ON FILE
29629307        LA GIOIA TWO LLC                                       609 2ND ST APT 502                                             WEST PALM BCH   FL      33401‐4525
29649024        La Gioia Two, LLC                                      New LL as of 7‐6‐18 Pablo Lupina 609 2nd St       Apt 502      West Palm Bch   FL      33401‐4525
29646785        Lafollette, Miranda R                                  ADDRESS ON FILE
29639642        Laken, Thompson                                        ADDRESS ON FILE
29647333        Lamprich, Dylan A                                      ADDRESS ON FILE
29622291        Lanzarotta, Cara M                                     ADDRESS ON FILE
29640811        Laron, Coates Jr.                                      ADDRESS ON FILE
29488993        Leary, Cosette                                         ADDRESS ON FILE
29646721        Lebied, Aimee L                                        ADDRESS ON FILE
29648431        Lee, James E                                           ADDRESS ON FILE
29603703        LEE, LAGARY                                            ADDRESS ON FILE
29621357        Leon, Rosaly                                           ADDRESS ON FILE
29610336        Leonard, Wesley                                        ADDRESS ON FILE
29629873        Lessie, Stefan                                         ADDRESS ON FILE
29481150        Levine, Nia                                            ADDRESS ON FILE
29488537        Lewis, Shawntae Ira                                    ADDRESS ON FILE
29631874        Liddy, Aidan Lucas                                     ADDRESS ON FILE
29488082        Lilly, Lavanda                                         ADDRESS ON FILE
29633806        Lisi, Kaia Rose                                        ADDRESS ON FILE
29480913        Little, Isha                                           ADDRESS ON FILE
29622739        Loftis, Robert E                                       ADDRESS ON FILE
29488122        Loggins, Aldejha                                       ADDRESS ON FILE
29646872        Long, Evan R                                           ADDRESS ON FILE
29604649        Loot Corp                                              Matthew Smoyak                   4235 84th CT E                Palmetto        FL      34221‐2078
29612946        LORD, GIORGIO MARQUIS                                  ADDRESS ON FILE
29609549        Loucks, Arianna Jane                                   ADDRESS ON FILE
29633922        Lovato, Angeles                                        ADDRESS ON FILE
29481211        Lowery, Tomnica                                        ADDRESS ON FILE
29633878        Luken, Jalen Matthew                                   ADDRESS ON FILE
29641403        M., Bower Christopher                                  ADDRESS ON FILE
29615501        M., Gallegos Joshua                                    ADDRESS ON FILE
29640297        M., Ike Dawn                                           ADDRESS ON FILE
29639431        M., Johnston Joseph                                    ADDRESS ON FILE


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    ADRID                                    NAME                               ADDRESS 1            ADDRESS 2      ADDRESS 3           CITY   STATE    POSTAL CODE
29616558        M., Nixon Denise                                       ADDRESS ON FILE
29642535        M., Pierce Devon                                       ADDRESS ON FILE
29616315        M., Rivera Dallas                                      ADDRESS ON FILE
29641473        M., Winett Joseph                                      ADDRESS ON FILE
29642332        Mackenzie, Wood                                        ADDRESS ON FILE
29646677        Madden, Caitlyn I                                      ADDRESS ON FILE
29650298        Magestro, Joann                                        ADDRESS ON FILE
29615489        Mahirwe, Mukanoheri                                    ADDRESS ON FILE
29484386        Makuach, Santino                                       ADDRESS ON FILE
29615034        Malik, Mays                                            ADDRESS ON FILE
29619068        Mancini, Keri D                                        ADDRESS ON FILE
29648167        Mann, Kynzee M                                         ADDRESS ON FILE
29480095        Marc, David                                            ADDRESS ON FILE
29615562        Marco, Salcedo                                         ADDRESS ON FILE
29647084        Marcus, Timothy                                        ADDRESS ON FILE
29648837        Margand Enterprises, LLC                               Richard Mainardi JR        50 Packanack Lake Rd          Wayne          NJ      07470‐5834
29480445        Marion, Sheri                                          ADDRESS ON FILE
29635620        Marlar, Ashleigh                                       ADDRESS ON FILE
29648538        Marshall, TOndre K                                     ADDRESS ON FILE
29489599        Marshia, Leigh                                         ADDRESS ON FILE
29646714        Martin, Chase A                                        ADDRESS ON FILE
29646678        Martin, Zoe A                                          ADDRESS ON FILE
29609618        Martinez, Ahliya E                                     ADDRESS ON FILE
29610289        Martinos, Tyler James                                  ADDRESS ON FILE
29482051        Mathews, Shalyni                                       ADDRESS ON FILE
29605718        Matosian, Joseph M                                     ADDRESS ON FILE
29646751        Maurer, Amanda A                                       ADDRESS ON FILE
29486245        May, Michelle                                          ADDRESS ON FILE
29634101        Mayhew, Briana                                         ADDRESS ON FILE
29489966        Maynor, Vanessa                                        ADDRESS ON FILE
29492875        Mccleary, Angela                                       ADDRESS ON FILE
29601991        MCCLUNG, MELVIN                                        ADDRESS ON FILE
29481626        Mccoffin, Sherry                                       ADDRESS ON FILE
29480674        Mccollum, Latoya                                       ADDRESS ON FILE
29622673        Mccoy, Adrea                                           ADDRESS ON FILE
29648270        Mckvian, Tejah M                                       ADDRESS ON FILE


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    ADRID                                    NAME                               ADDRESS 1             ADDRESS 2   ADDRESS 3         CITY    STATE    POSTAL CODE
29647212        Mcleod, Cole W                                         ADDRESS ON FILE
29622020        Mcmiller, Deenia J                                     ADDRESS ON FILE
29611508        Medina, Alison                                         ADDRESS ON FILE
29488446        Melton, Caitlyn                                        ADDRESS ON FILE
29626526        MENDOZA, BRANDON                                       ADDRESS ON FILE
29603458        MENDOZA, DANIEL ESAU                                   ADDRESS ON FILE
29621883        Merryfield, Rebecca L                                  ADDRESS ON FILE
29621820        Mesa, Marlene C                                        ADDRESS ON FILE
29609394        Meyers, Joseph R                                       ADDRESS ON FILE
29643709        Meza, Edwin                                            ADDRESS ON FILE
29603763        MFV EXPOSITIONS LLC                                    65 HARRISTOWN RD             STE 300                   GLEN ROCK     NJ      07452‐3317
29602937        MGS Supply & Services, LLC                             21732 Provincial Blvd #170                             Katy          TX      77450‐6520
29642096        Michael, Banks                                         ADDRESS ON FILE
29637877        Michael, Watts                                         ADDRESS ON FILE
29648716        Michel, Kristina C                                     ADDRESS ON FILE
29609082        Mignola, Leonardo                                      ADDRESS ON FILE
29621128        Mims, Jimmy J                                          ADDRESS ON FILE
29622677        Mines, Latear M                                        ADDRESS ON FILE
29633473        Minto, Rebecca                                         ADDRESS ON FILE
29604862        MOFFATT, ANGELYCA                                      ADDRESS ON FILE
29641874        Moises, loza                                           ADDRESS ON FILE
29629482        MONTGOMERY COUNTY TRUSTEE                              350 PAGEANT LN STE 101B                                CLARKSVILLE   TN      37040‐3813
29622132        Montgomery, Will D                                     ADDRESS ON FILE
29482296        Moore, Christina                                       ADDRESS ON FILE
29647722        Moore, Daniel C                                        ADDRESS ON FILE
29622603        Moss, April                                            ADDRESS ON FILE
29609174        Mowery, Elizabeth Julia                                ADDRESS ON FILE
29631008        Muhammad, Samiel                                       ADDRESS ON FILE
29609835        Mumma, Johnathon T                                     ADDRESS ON FILE
29621517        Murphy, Luke M                                         ADDRESS ON FILE
29606664        MY LIMOUSINE SERVICE INC                               350 CLARK DR                 STE 235                   BUDD LAKE     NJ      07828‐1393
29646798        Myers, Gilbert L                                       ADDRESS ON FILE
29615824        N., Powell Kenneth                                     ADDRESS ON FILE
29615703        N., Tumpkin Asia                                       ADDRESS ON FILE
29641397        Najah, Hyles                                           ADDRESS ON FILE
29633428        Najdowski, Sierra                                      ADDRESS ON FILE


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    ADRID                                        NAME                              ADDRESS 1           ADDRESS 2    ADDRESS 3           CITY    STATE    POSTAL CODE
29634078        Nealy, Scottie l                                          ADDRESS ON FILE
29602640        NEFF'S WINDOW WIZARDS                                     426 AMBASSADOR CIR        APT G                       CRYSTAL LAKE   IL       60014‐6358
29481504        Niagado, Bamby                                            ADDRESS ON FILE
29642620        Noah, Fox                                                 ADDRESS ON FILE
29620552        Nordquist, Kristin T                                      ADDRESS ON FILE
29642637        Norman, Seymore Jr.                                       ADDRESS ON FILE
29627066        NORMANDY STATION INC                                      336 W MORSE BLVD          # 101                       WINTER PARK    FL       32789‐4294
29627067        NORMANDY STATION, INC.                                    c/o SANDEFUR HOLDING COMPA336 W MORSE BLV# 101        WINTER PARK    FL       32789‐4294
29627065        NORTHEAST PLAZA VENTURE LLC                               50 CENTRAL AVE            APT 1507                    SARASOTA       FL       34236‐5717
29627647        Nutramax Laboratories Consumer Care                       946 QUALITY DR                                        LANCASTER      SC       29720‐4722
29480272        Oberhaus, Richard                                         ADDRESS ON FILE
29492459        Ohenry, Samantha                                          ADDRESS ON FILE
29480519        Oldham, Denzel                                            ADDRESS ON FILE
29627614        Olympian Labs                                             15490 N 83rd Way                                      Scottsdale     AZ       85260‐1821
29492971        Oneal, Dionne                                             ADDRESS ON FILE
29482698        Onwuagba, Sharon                                          ADDRESS ON FILE
29646803        Owens‐Asaro, Madeline J                                   ADDRESS ON FILE
29491121        Owsley, Danetta                                           ADDRESS ON FILE
29640690        P., Cid jordan                                            ADDRESS ON FILE
29614405        P., Hodges Brian                                          ADDRESS ON FILE
29638034        P., Simpson David                                         ADDRESS ON FILE
29488311        Pack, Kawania                                             ADDRESS ON FILE
29621752        Padilla, Jacob A                                          ADDRESS ON FILE
29622646        Padilla, Marvin A                                         ADDRESS ON FILE
29481411        Paige, Lasha                                              ADDRESS ON FILE
29611837        Panopoulas, Justine M                                     ADDRESS ON FILE
29646314        Parker, Myesha G                                          ADDRESS ON FILE
29645681        Patel, Shiv                                               ADDRESS ON FILE
29635210        Patman, Darrin Dayon‐Lee                                  ADDRESS ON FILE
29640442        Patrice, Mitchell                                         ADDRESS ON FILE
29490182        Paul, Jamel                                               ADDRESS ON FILE
29494907        Pearson, Barbra                                           ADDRESS ON FILE
29609994        Peel, Danielle                                            ADDRESS ON FILE
29602818        Peerless Search Partners LLC                              9649 Ward Rd                                          Plain City     OH       43064‐8072
29634541        Perry, Robert J                                           ADDRESS ON FILE
29648203        Pester, Curtis J                                          ADDRESS ON FILE


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    ADRID                                     NAME                               ADDRESS 1           ADDRESS 2     ADDRESS 3         CITY     STATE    POSTAL CODE
29646097        Pettinato, Kristen H                                    ADDRESS ON FILE
29627112        PETTY'S ASPHALT                                         24122 NW 189TH AVE                                     HIGH SPRINGS   FL      32643‐0510
29634582        Phelps, Gabriel Scott                                   ADDRESS ON FILE
29484109        Phinisee, Yulonda                                       ADDRESS ON FILE
29609816        Pierce, Savanah                                         ADDRESS ON FILE
29628207        POWELL, ALICIA                                          ADDRESS ON FILE
29484925        Powell, Mario                                           ADDRESS ON FILE
29627126        PRINTERS PLUS, LLC                                      4910 CREEKSIDE DR STE M                                CLEARWATER     FL      33760‐4042
29627129        PROFESSIONAL APPLIANCE / DAWN M GRATTON                 600 VANCE RD                                           GREENSBURG     KY      42743‐8445
29620872        Provenzano, Carole                                      ADDRESS ON FILE
29603867        PRUDENT GROWTH OPERATIONS LLC                           141 PROVIDENCE RD          STE 200                     CHAPEL HILL    NC      27514‐0200
29633857        Przytulinski, Daniel Maciej                             ADDRESS ON FILE
29601929        PYE BARKER FIRE & SAFETY, INC                           2500 NORTHWINDS PKWY       STE 200                     ALPHARETTA     GA      30009‐2252
29491491        Queen, Stephanie                                        ADDRESS ON FILE
29610776        Quiet, Natalie Paige                                    ADDRESS ON FILE
29647642        Quinn, Michaela B                                       ADDRESS ON FILE
29616326        R., Burton Robert                                       ADDRESS ON FILE
29614181        R., Harp Tyler                                          ADDRESS ON FILE
29485441        Radney, Leshai                                          ADDRESS ON FILE
29609038        Raimi, Lillian                                          ADDRESS ON FILE
29615022        Ramiro, Rodriguez                                       ADDRESS ON FILE
29620460        Ramos, Jesus R                                          ADDRESS ON FILE
29622865        Randall, Isaiah A                                       ADDRESS ON FILE
29605687        Randolph, Jenna                                         ADDRESS ON FILE
29612908        RATLIFF, NICHOLAS ALEXANDER                             ADDRESS ON FILE
29621810        Ray, Anthony M                                          ADDRESS ON FILE
29641428        Raymond, Gunderman Jr.                                  ADDRESS ON FILE
29635091        Reasnover, Camarie                                      ADDRESS ON FILE
29481042        Reddix, Bernadine                                       ADDRESS ON FILE
29631162        Reeves, Brielle Nicole                                  ADDRESS ON FILE
29629696        RESONANT ANALYTICS LLC                                  PMB 1                      100 OVERLOOK CTFL 2         PRINCETON      NJ      08540‐7814
29637274        REYES, EDWARD JAMES                                     ADDRESS ON FILE
29621473        Rey‐Herrera, Elier                                      ADDRESS ON FILE
29603117        RHODES, KEVIN                                           ADDRESS ON FILE
29648081        Rice, Stephanie L                                       ADDRESS ON FILE
29621176        Richards, Lauren E                                      ADDRESS ON FILE


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                                                                           Served via First Class Mail


    ADRID                                             NAME                               ADDRESS 1         ADDRESS 2   ADDRESS 3        CITY   STATE    POSTAL CODE
29634547        Richards, Tanya                                                 ADDRESS ON FILE
29626167        Richardson, Russell                                             ADDRESS ON FILE
29648272        Riggins, Keturah                                                ADDRESS ON FILE
29641923        Riley, Budd                                                     ADDRESS ON FILE
29648236        Riley, Heather K                                                ADDRESS ON FILE
29631452        Rincon, Brianna Marie                                           ADDRESS ON FILE
29622238        Robinson, Justin N                                              ADDRESS ON FILE
29629827        ROBINSON, SONYA                                                 ADDRESS ON FILE
29633803        Rodriguez, Alexander                                            ADDRESS ON FILE
29621594        Rodriguez, Amador C                                             ADDRESS ON FILE
29637799        Rogelio, Lopez                                                  ADDRESS ON FILE
29647026        Rositas, Vanessa V                                              ADDRESS ON FILE
29650323        RSH Sign Group                                                  PO BOX 396                                         HOLLYWOOD   SC      29449‐0396
29609961        Rubenstein, Aurora Skye                                         ADDRESS ON FILE
29647240        Rueger, Beau L                                                  ADDRESS ON FILE
29618161        Russell, Dylan M                                                ADDRESS ON FILE
29647779        Russell, Kory M                                                 ADDRESS ON FILE
29480941        Russell, Lashanda                                               ADDRESS ON FILE
29609774        Ruzmeh, Oskar                                                   ADDRESS ON FILE
29609955        Ryan, Katelyn Elizabeth                                         ADDRESS ON FILE
29615481        S., Ault Michael                                                ADDRESS ON FILE
29647746        Sabree, Nicholas K                                              ADDRESS ON FILE
29480088        Sadasivan, Dineshkumar                                          ADDRESS ON FILE
29648438        Safi, Abdullah S                                                ADDRESS ON FILE
29648666        Salgado, Phillip N                                              ADDRESS ON FILE
29610554        Salls, Connor Michael                                           ADDRESS ON FILE
29603236        SAMANIEGO, ADRIAN                                               ADDRESS ON FILE
29485074        Sample, Wayne                                                   ADDRESS ON FILE
29634487        Sanchez Ramirez, Gabriela Alejandra                             ADDRESS ON FILE
29619046        Sanchez, Johann A                                               ADDRESS ON FILE
29621740        Sanchez, Meagan L                                               ADDRESS ON FILE
29633614        Sanders, Peter Mitchell                                         ADDRESS ON FILE
29487904        Santana, Jose                                                   ADDRESS ON FILE
29634494        Santiago, Selena                                                ADDRESS ON FILE
29647241        Sarafian, Samuel J                                              ADDRESS ON FILE
29621520        Sawyer, Zachary C                                               ADDRESS ON FILE


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                                                                  Supplemental Mailing List
                                                                  Served via First Class Mail


    ADRID                                    NAME                               ADDRESS 1            ADDRESS 2         ADDRESS 3          CITY   STATE    POSTAL CODE
29634678        Schurter, Emily Joy                                    ADDRESS ON FILE
29607436        Schwartz, Patricia Jean                                ADDRESS ON FILE
29480903        Sealy, Tamika                                          ADDRESS ON FILE
29610354        Senkus, Ariana Madison                                 ADDRESS ON FILE
29645502        Shafaqh, Abdul Zahir                                   ADDRESS ON FILE
29628856        Shafeek, Dev                                           ADDRESS ON FILE
29639945        Shaun, Banks                                           ADDRESS ON FILE
29482579        Shaw, Tiana                                            ADDRESS ON FILE
29646783        Sibley, Kayla N                                        ADDRESS ON FILE
29644277        Siikarla, Eric N                                       ADDRESS ON FILE
29619171        Silva, Elijah D                                        ADDRESS ON FILE
29629454        Silver, Michelle                                       ADDRESS ON FILE
29645809        Silverman, Gavin R                                     ADDRESS ON FILE
29489693        Singh, Rashida                                         ADDRESS ON FILE
29604510        Skyview Naturals PBC                                   PMB 1071                   1375 Maple Tree PL               Williston     VT      05495‐8210
29634319        Smigielski, Danielle Marie                             ADDRESS ON FILE
29482585        Smith, Daisja                                          ADDRESS ON FILE
29480618        Smith, Jaykieria                                       ADDRESS ON FILE
29647847        Smith, Sophia C                                        ADDRESS ON FILE
29633408        Smith, Virginia                                        ADDRESS ON FILE
29610073        Snyder, Arin M                                         ADDRESS ON FILE
29490568        Solanki, Deepak                                        ADDRESS ON FILE
29612016        Soliman, Joseph Fares                                  ADDRESS ON FILE
29634749        Soto, Isis                                             ADDRESS ON FILE
29605688        Soydan, Jenna                                          ADDRESS ON FILE
29631815        Spagnuolo, Dominic Michael                             ADDRESS ON FILE
29640752        Stacey, Moran                                          ADDRESS ON FILE
29609350        Staggs, Catey                                          ADDRESS ON FILE
29618837        Staine, Noel A                                         ADDRESS ON FILE
29481292        Stallworth, Shawna                                     ADDRESS ON FILE
29634067        Stampfl, Johnathan                                     ADDRESS ON FILE
29609674        Standridge, Katie LeAnn                                ADDRESS ON FILE
29609325        Stansbery, Hunter Joe                                  ADDRESS ON FILE
29648177        Starks, Adrian R                                       ADDRESS ON FILE
29489156        Steele, Tierra                                         ADDRESS ON FILE
29634194        Stepke, Hannah                                         ADDRESS ON FILE


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    ADRID                                         NAME                               ADDRESS 1           ADDRESS 2     ADDRESS 3             CITY   STATE    POSTAL CODE
29639852        Steve, Belmontes                                           ADDRESS ON FILE
29641501        Steven, Dorsey                                             ADDRESS ON FILE
29642630        Steven, Wright                                             ADDRESS ON FILE
29608087        Stronsick, Nastasja                                        ADDRESS ON FILE
29615740        Stuart, Hafling Sr.                                        ADDRESS ON FILE
29634477        Sullivan, Cassandra                                        ADDRESS ON FILE
29480609        Swanigan, Brandi                                           ADDRESS ON FILE
29610029        Swierz, Samuel Lucas                                       ADDRESS ON FILE
29627947        Swolverine (DRP)                                           Swolverine                 9005 Double DiamSTE 10       Reno             NV      89521
29489692        Sykes, Jabreeya                                            ADDRESS ON FILE
29640035        T., Boyden Maxwell                                         ADDRESS ON FILE
29640413        T., Eshenbaugh Mark                                        ADDRESS ON FILE
29616089        T., Mahoney Matt                                           ADDRESS ON FILE
29617266        T., Mccree Aaron                                           ADDRESS ON FILE
29640437        Tairre, Brown                                              ADDRESS ON FILE
29647361        Taylor, Myka K                                             ADDRESS ON FILE
29626242        TBSE Inc                                                   1355 N Main St             Ste 2                        Bountiful        UT      84010‐5982
29606542        Tedstrom, William                                          ADDRESS ON FILE
29633995        Teeter, Leah Grace                                         ADDRESS ON FILE
29602297        Terrace Living Company Incorporated                        PO Box 750804                                           Las Vegas        NV      89136‐0804
29641897        Terria, cage                                               ADDRESS ON FILE
29644273        Thacker, Brian R                                           ADDRESS ON FILE
29626960        THE LAW OFFICES OF LEVY & LEVY, PA                         2844 N UNIVERSITY DR                                    CORAL SPRINGS    FL      33065‐1425
29633812        Thomas, Amy                                                ADDRESS ON FILE
29484229        Thomas, Annie                                              ADDRESS ON FILE
29483706        Thomas, Jesse                                              ADDRESS ON FILE
29613412        Thomas, Schartzer                                          ADDRESS ON FILE
29648375        Thompson, Deante                                           ADDRESS ON FILE
29485594        Thompson, Leigh                                            ADDRESS ON FILE
29625776        Three Rivers Commercial Inc                                PO Box 189                                              Allegan          MI      49010‐0189
29621238        Throckmorton, Jason M                                      ADDRESS ON FILE
29640198        Timothy, Brown Jr.                                         ADDRESS ON FILE
29633790        Tisone, Nicholas Allen                                     ADDRESS ON FILE
29646035        Toledo, Joshua J                                           ADDRESS ON FILE
29489304        Tooson, Monica                                             ADDRESS ON FILE
29605409        Torres, Diego                                              ADDRESS ON FILE


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    ADRID                                      NAME                               ADDRESS 1             ADDRESS 2   ADDRESS 3            CITY   STATE    POSTAL CODE
29633495        Toutant, Morgan                                          ADDRESS ON FILE
29606421        TOWN OF RIVERHEAD                                        OFFICE OF THE FIRE MARSHAL   4 W 2ND ST                RIVERHEAD       NY      11901‐2702
29606434        TRACEGAINS INC                                           12303 AIRPORT WAY            STE 180                   BROOMFIELD      CO      80021‐2765
29619619        Trader, Sean E                                           ADDRESS ON FILE
29614926        Travis, Sullivan                                         ADDRESS ON FILE
29616698        Tristin, Sossaman                                        ADDRESS ON FILE
29635917        Trumble, Melissa Marie                                   ADDRESS ON FILE
29633165        Tucker, Brooke Lynn Marie                                ADDRESS ON FILE
29604123        Tuesday Morning, Inc.                                    PO Box 802627                                          Dallas          TX      75380‐2627
29645845        Turner, Dylan V                                          ADDRESS ON FILE
29484581        Turner, Jameelah                                         ADDRESS ON FILE
29602762        TYCO'S HYDROSEEDING LLC                                  PO BOX 81                                              CLEVER          MO      65631‐0081
29610846        Udrea, Jocelyn marie                                     ADDRESS ON FILE
29624815        UNITED UTILITY SERVICES                                  11177 LONG BOAT DR                                     HOLLYWOOD       FL      33026‐4728
29647657        Urena, Catherine E                                       ADDRESS ON FILE
29620683        Vaden, Noah A                                            ADDRESS ON FILE
29647572        Valenzuela, Algelis A                                    ADDRESS ON FILE
29648528        Valerio, Adrian M                                        ADDRESS ON FILE
29620328        Varela, Mason D                                          ADDRESS ON FILE
29628457        Varner, Christian                                        ADDRESS ON FILE
29490081        Vaughn, Antoinette                                       ADDRESS ON FILE
29627326        VAUGHN'S GLASS & MIRROR PLUS, INC                        301 NE GREENBRIER AVE                                  PORT ST LUCIE   FL      34983‐1289
29620428        Velarde, Ian C                                           ADDRESS ON FILE
29483906        Velazquez, Clemente                                      ADDRESS ON FILE
29603017        Veteran Mechanical Services                              6950 146TH ST W APT 128                                SAINT PAUL      MN      55124‐4514
29612896        VICENTE, JULIAN TAYLOR                                   ADDRESS ON FILE
29637271        VICENTE, LEOFRANCIS                                      ADDRESS ON FILE
29641863        W., Shanks Trameir                                       ADDRESS ON FILE
29603464        WALLS, DAVID L                                           ADDRESS ON FILE
29489074        Warren, Chas                                             ADDRESS ON FILE
29647294        Washington, Lashonda L                                   ADDRESS ON FILE
29618434        Webb, William D                                          ADDRESS ON FILE
29630111        WEBMD HEALTH CORP                                        283‐299 MARKET ST                                      NEWARK          NJ      07102‐5009
29646015        Weiss, Erica L                                           ADDRESS ON FILE
29646833        Wenzke, Chris E                                          ADDRESS ON FILE
29620873        Wetzel, Holly J                                          ADDRESS ON FILE


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    ADRID                                        NAME                               ADDRESS 1            ADDRESS 2      ADDRESS 3             CITY   STATE    POSTAL CODE
29488628        White, Ashley                                              ADDRESS ON FILE
29489246        White, Daniel                                              ADDRESS ON FILE
29483217        White, Yolanda                                             ADDRESS ON FILE
29494691        Whited, Stephanie                                          ADDRESS ON FILE
29634596        Wigley, Morgan Dayle                                       ADDRESS ON FILE
29645974        Wiley, Nicole D                                            ADDRESS ON FILE
29646318        Willard, Kaylea R                                          ADDRESS ON FILE
29639637        William, Taylor                                            ADDRESS ON FILE
29489450        Williams, Bradley                                          ADDRESS ON FILE
29483223        Williams, Briona                                           ADDRESS ON FILE
29605487        Williams, Exavier                                          ADDRESS ON FILE
29480717        Williams, Jaielynn                                         ADDRESS ON FILE
29621850        Williams, Jason A                                          ADDRESS ON FILE
29643892        Williams, Marcel J                                         ADDRESS ON FILE
29641980        Wilmer, Pileta Rivera                                      ADDRESS ON FILE
29481786        Wilson, Clifford                                           ADDRESS ON FILE
29604078        WILSON'S TRACTOR AND SUPPLY CO                             40420 FREE FALL AVE        UNIT A                        ZEPHYRHILLS      FL      33542‐5803
29646597        Wood, Alexis M                                             ADDRESS ON FILE
29622228        Wright, Angela M                                           ADDRESS ON FILE
29620249        Wright, Nicholas A                                         ADDRESS ON FILE
29480436        Wyatt, William                                             ADDRESS ON FILE
29612914        WYNN, KRISTEN NICOLE                                       ADDRESS ON FILE
29615738        X., Jackson Chase                                          ADDRESS ON FILE
29639104        X., Quinones Edgardo                                       ADDRESS ON FILE
29635186        Yelonek, Grace                                             ADDRESS ON FILE
29633541        Zadorenko, Virginia Ann                                    ADDRESS ON FILE
29638694        Zion, Davis                                                ADDRESS ON FILE
29604366        Zipfizz Corp.                                              Tony Summers               915 236th Pl SW               Bothell          WA      98021‐8504
29634534        Zipko, Jazmine                                             ADDRESS ON FILE




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                                                                     Exhibit C
                                                             Supplemental Service List
                                                             Served via First Class Mail
            ADRID                         NAME             ADDRESS 1                ADDRESS 2             CITY    STATE    POSTAL CODE
       29490147                Abotsi, Cynthia        ADDRESS ON FILE
       29615652                D., Cannon Paige       ADDRESS ON FILE
       29486401                Hamiltun, Dan          ADDRESS ON FILE
       29604562                Kadenwood              Scott Link          3279 E Harbour Dr             Phoenix   AZ      85034‐8212
       29490511                Kraemer, Sara          ADDRESS ON FILE
       29640801                Lamarian, Henderson    ADDRESS ON FILE
       29621254                Mabugu, Rumbidzai P    ADDRESS ON FILE
       29609343                Parker, Lydia Maxine   ADDRESS ON FILE
       29631826                Parrish, Kitana Jade   ADDRESS ON FILE
       29646868                Perez, Jose D          ADDRESS ON FILE
       29627733                Quincy Bioscience      Tom Dvorak          8401 Greenway Blvd Ste 800    Middleton WI      53562‐3539
       29613519                R., Perkins Lance      ADDRESS ON FILE
       29634222                Rodriguez, Ryan        ADDRESS ON FILE
       29633659                Schmitz, Jennifer      ADDRESS ON FILE
       29647065                Steacker, Clayton J    ADDRESS ON FILE
       29629745                Stoll, Samuel          ADDRESS ON FILE
       29489589                Westfall, Donna        ADDRESS ON FILE
       29625930                WHITE, EMILEE          ADDRESS ON FILE
       29631264                Wiseman, Kiera         ADDRESS ON FILE




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                                                                 Exhibit D
                                                     Supplemental Customer Service List
                                                         Served via First Class Mail

                                             ADRID             Name                   Address 1
                                          29482575   Adams, Elina              Address on File
                                          29492629   Archer, Clarence          Address on File
                                          29489914   Brown, Cara               Address on File
                                          29482057   Chandler, TEQUILA         Address on File
                                          29491986   Chubb, Courtney           Address on File
                                          29488041   Houston, Natasha          Address on File
                                          29480674   Mccollum, Latoya          Address on File
                                          29490661   Simmons, Tanikqua         Address on File
                                          29489902   Williams, Keyanda         Address on File




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                                                                            Exhibit E
                                                                 Supplemental Mailing Service List
                                                                    Served via First Class Mail

  ADRID               NAME                           ADDRESS 1                       ADDRESS 2              ADDRESS 3     CITY      STATE POSTAL CODE
29606633    FPC OF RIVERWOOD               1450 GREENE ST              STE 505                                          AUGUSTA    GA     30901‐5225
29640746    JaQohn, Jones                  Address on File
29641053    N., Ivey Patrick               Address on File
29629702    RICHLAND COUNTY                BUSINESS SERVICE CENTER     2020 HAMPTON STREET, STE 1050       PO BOX 191   Columbia   SC    29202




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